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IN THE UN:TED sTATEs DISTRICT CoURTFH-E`D B'¢“'.` . no
FoR THE wEsTERN DISTRICT oF TENNESSEE

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DAVID JACKSON,

Plaintiff,
vs. No. 04-2935-Ma/V

CORRECTIONS CORPORATION
OF AMERICA,

Defendant.

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ORDER TRANSFERRING CASE PURSUANT TO 23 U.S.C. § 1406(3)

 

Plaintiff David Jackson, Mississippi Department of Correction
(“MDOC”) prisoner number 39640, an inmate at the Wilkinson County
Correctional Facility (“WCCF”)1 in Woodville, Mississippi, filed a
pro se complaint under 42 U.S.C. § 1983, along with motions to
proceed in forma pauperis and for a preliminary injunction. The
plaintiff’s claims arise out of his confinement at the WCCF. Because
the case is being transferred, the filing fee and preliminary
injunction issues should be addressed by the transferee court.

Twenty-eight U.S.C. § 1391(b) authorizes the commencement of a
civil action only in a judicial district

(l) where any defendant resides, if all defendants reside

in the same State, (2) a judicial district in which a

substantial part of the events or omissions giving rise to
the claim occurred . . . , or (3) a judicial district in

 

1 The word “prison" is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

This document entered on the docket sheet In compliance
warn ama 58 and/or 79{3) FHCP on (p ’- -~05

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which any defendant may be found, if there is no district
in which the action may otherwise be brought.

Plaintiff's claims have no connection with Western Division of
the Western District of Tennessee. The defendant is a Maryland
corporation which is headquartered in Nashville, Tennessee.
Plaintiff is confined at the WCCF, a facility owned and operated by
the defendant. Therefore, the defendant can be found in Wilkinson
County, Mississippi. Furthermore, the allegedly wrongful acts
occurred in Wilkinson County. Accordingly, the complaint asserts no
basis for venue in the Western District of Tennessee.

Twenty~eight U.S.C. § 1406(a) states:

The district court of a district in which is filed a case

laying venue in_ the wrong division or district shall

dismiss, or if it be in the interest of justice, transfer

such case to any district or division in which it could

have been brought.

For the reasons stated, this action should have been brought in the
Western Division of the Southern District of Mississippi. 28 U.S.C.
§ lOé(b)(B). Therefore, it is hereby ORDERED, pursuant to 28 U.S.C.
§ 1406(a), that this case is TRANSFERRED, forthwith, to the Southern

District of Mississippi, Western Division.

mr is 50 oRDERED this 3°\ day er June, 2005.

MM/M/L____

SZ-\MUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

UNITS,ED`ATES DISTRCT C URT - WESTERN D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02935 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

David Jackson

WILKINSON COUNTY CORRECTIONAL FACILITY
39640

P.O. Box 1079

Woodville, MS 39669

Honorable Samuel Mays
US DISTRICT COURT

